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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                         MDL 2724
PRICING ANTITRUST LITIGATION                           16-MD-2724

                                                       HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

The Kroger Co. v. Actavis Holdco, U.S.                 Civil Action No. 18-284



                                          ORDER

       AND NOW, this 18th day of February 2020, upon consideration of the attached

stipulation, which applies only to Civil Action No. 18-284, it is hereby ORDERED that the

Stipulation is APPROVED.

       It is so ORDERED.

                                                  BY THE COURT:
                                                  /s/ Cynthia M. Rufe
                                                  ____________________
                                                  CYNTHIA M. RUFE, J.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                         MDL No. 2724
 PRICING ANTITRUST LITIGATION                           Case No. 2:16-MD-02724

                                                        HON. CYNTHIA M. RUFE
 THIS DOCUMENT RELATES TO:

 ALL ACTIONS


     JOINT STIPULATION EXTENDING TIME TO RESPOND TO KROGER
 DIRECT ACTION PLAINTIFFS’ MOTION FOR LEAVE TO AMEND COMPLAINT

       WHEREAS, on February 3, 2020, the Kroger Direct Action Plaintiffs filed a Motion for

Leave to Amend Complaint (the “Motion to Amend”). (See MDL Doc. 196.)

       WHEREAS, pursuant to Local Rule 7.1(c), Defendants’ response to the Motion to

Amend is currently due February 17, 2020.

       WHEREAS, after discussion, Defendants and Kroger Direct Action Plaintiffs agreed to

an extension of the deadline for Defendants to respond to the Motion to Amend.

       It is hereby STIPULATED AND AGREED, by the undersigned counsel, pursuant to

Local Rule 7.4, that Defendants shall have until March 2, 2020 to file any opposition to the

Motion to Amend.

       IT IS SO STIPULATED.

 Dated: February 14, 2020                          /s/ William J. Blechman
                                                   William J. Blechman
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                                                   Counsel for the Kroger Direct Action Plaintiffs
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                              Defendants’ Liaison Counsel




                                              APPROVED BY THE COURT:


                                            XXXXXXXXXXXXXXXXXXXXXX
                                           ________________________________
                                           The Honorable Cynthia M. Rufe




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